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 6                                UNITED STATES DISTRICT COURT
                                 WESTERN DISTRICT OF WASHINGTON
 7                                         AT TACOMA

 8    UNITED STATES OF AMERICA,
                                                              Case No. CR04-5516FDB
 9                  Plaintiff,
                                                              ORDER DISMISSING THE
10           v.                                               PETITION AND CLAIM OF
                                                              SUSANNE M. WHITE TO REAL
11    MICHAEL STEFFEN,                                        PROPERTIES OWNED BY
                                                              MICHAEL STEFFEN
12                  Defendant.
13
            Before the Court is Plaintiff’s motion to dismiss the petition of Susanne M. White
14
     asserting an interest in real properties owned by Defendant Michael Steffen. Ms. White has
15
     asked that her interest be determined by the Court upon her written petition and without
16
     formal hearing. The Court, having reviewed the petition, opposition, and the balance of the
17
     record, finds, for the reasons set forth below, that the petition should be dismissed.
18
                                                     I.
19
            On March 3, 2005 this Court entered a Preliminary Order of Forfeiture, declaring that
20
     the interest of Defendant Michael Steffen in two parcels of real property (540 3rd Avenue,
21
     Fox Island, Washington and 3602 92nd Avenue, Gig Harbor, Washington), were forfeited to
22
     the United States. Pursuant to 21 U.S.C. § 853(n) the United States was required to publish
23
     notice of its intent to dispose of the forfeited property and to provide written notice to all
24
     persons known to have alleged an interest in the property. On April 18, 2005, Ms. White
25

26   ORDER - 1
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 1   filed a petition asserting an interest in “real properties owned by Michael Steffen.”

 2                                                  II.

 3          Ms. White claims to have advanced certain funds to her brother, Defendant Michael

 4   Steffen, in connection with this litigation. Even assuming such funds were advanced as

 5   alleged, such action did not create any cognizable interest in either of the forfeited

 6   properties. No mortgage, deed of trust or other lien instrument has been presented to this

 7   Court to establish that the debt is secured by either of the forfeited properties.

 8          Additionally, and assuming Ms. White’s advancement of funds created an interest in

 9   the forfeited properties, such interest is not protected against forfeiture because it was

10   acquired after the commission of the offense giving rise to the forfeiture and cannot be

11   recognized by the Court in an ancillary proceeding conducted pursuant to 21 U.S.C. §

12   853(n). Ms. White’s interest is only be recognizable if she qualifies as a bona fide

13   purchaser for value who, at the time of purchase, was reasonably without cause to believe

14   that the properties were subject to forfeiture. However, as Ms. White claims that the funds

15   were advanced in connection with her brother’s defense and an appraisal commissioned

16   after the indictment was returned, she was plainly on notice that the properties were subject

17   to forfeiture and cannot be considered a bona fide purchaser without notice.

18          ACCORDINGLY,

19          IT IS ORDERED:

20          (1)    The petition and claim of Susanne M. White (Dkt. #95) is DISMISSED.




                                                 A
21          DATED this 16th day of June, 2005.

22

23                                               FRANKLIN D. BURGESS
                                                 UNITED STATES DISTRICT JUDGE
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25

26   ORDER - 2
